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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division


ELIZABETH SINES, SETH WISPELWEY,
MARISSA BLAIR, TYLER MAGILL, APRIL
MUNIZ, HANNAH PEARCE, MARCUS
MARTIN, NATALIE ROMERO, CHELSEA
ALVARADO, and JOHN DOE

                       Plaintiffs,

v.                                                        Civil Action No.: 3:17CV00072

JASON KESSLER, RICHARD SPENCER,
CHRISTOPHER CANTWELL, JAMES ALEX
FIELDS, JR., VANGUARD AMERICA,
ANDREW ANGLIN, MOONBASE
HOLDINGS, LLC, ROBERT “AZZMADOR”
RAY, NATHAN DAMIGO, ELLIOTT
KLINE a/k/a ELI MOSELEY, IDENTITY
EVROPA, MATTHEW HEIMBACH, MATTHEW
PARROTT a/k/a DAVID MATTHEW PARROTT,
TRADITIONALIST WORKER PARTY,
MICHAEL HILL, MICHAEL TUBBS, LEAGUE
OF THE SOUTH, JEFF SCHOEP, NATIONAL
SOCIALIST MOVEMENT, NATIONALIST
FRONT, AUGUSTUS SOL INVICTUS,
FRATERNAL ORDER OF THE ALT-KNIGHTS,
MICHAEL “ENOCH” PEINOVICH, LOYAL
WHITE KNIGHTS OF THE KU KLUX KLAN,
and EAST COAST KNIGHTS OF THE KU KLUX
KLAN a/k/a EAST COAST KNIGHTS OF THE
TRUE INVISIBLE EMPIRE,

                       Defendants.

 MEMORANDUM IN SUPPORT OF MOTION TO STAY DEPOSITION AND APPOINT
                     A GUARDIAN AD LITEM

       COMES NOW JAMES ALEX FIELDS, by and through Counsel, files this, his

memorandum in support of his motion to stay his discovery deposition and to appoint a guardian

ad litem, and in support thereof, states as follows:
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       Undersigned counsel has communicated with Defendant Fields on many occasions

throughout the years long course of this litigation and always found him to be competent to

understand instructions and respond to questions.

       On January 21, 2021, undersigned counsel was contacted by another officer of this Court,

Lisa Lorish – Federal Public Defender – regarding concerns over changes in Fields’ apparent

competency and ability to communicate. On February 9, 2021, counsel received a call from

Fields’ state criminal lawyer, Denise Lunsford, relating similar concerns over Fields’

competency. Counsel made repeated attempts to communicate with Fields since that date and

communicated with the Virginia State Bar regarding ethical concerns of reporting said concerns

to this Court and opposing counsel

       On February 19, 2021, counsel participated in a “Zoom” meeting with Fields and Ms.

Lunsford to evaluate his competency and attempt to prepare him for his upcoming deposition.

During this meeting, counsel confirmed, firsthand, that Fields now has a very different affect and

does not appear competent to understand directions from counsel that are necessary to prepare

for his deposition. Further, Fields does not believe counsel is who we say we are. Fields acted

bizarrely and reported visual and auditory hallucinations during this meeting. Fields believed the

date was March 11 and became agitated when told that was not the date. Fields reported

numerous scenarios regarding his current circumstances that were at the least implausible, if not

impossible, including that a doctor treating him at the facility participated in his sentencing

hearing and was awarded restitution in his criminal trial.

       Fields will refuse to testify via a video deposition because of a concern that software will

be used to manipulate his testimony making his face on the video appear to say things that he is

not saying.

       Fields deposition is currently set for February 25, 2021. Counsel has communicated with

counsel for the Plaintiffs and related these concerns. As Fields is not capable of being prepared

for a deposition, we hereby move this Court to stay the discovery deposition and appoint a

guardian ad litem to facilitate an evaluation of Fields’ mental capacity.
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       As trial is now scheduled to begin on October 18, 2021, Plaintiffs have ample time to

reschedule this deposition following a psychiatric evaluation.

       Wherefore, Fields asks this Court exercise its discretion and stay Fields’ deposition in

this case and appoint a guardian ad litem to facilitate said psychiatric evaluation and report to the

Court on Fields’ mental capacity to testify.


                                                      Respectfully submitted,


                                                      JAMES ALEX FIELDS, JR.
                                                      By Counsel


                                                      ________/S/_________________________
                                                      David L. Hauck, Esquire (VSB# 20565)
                                                      David L. Campbell, Esquire (VSB #75960)
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                                                      Counsel for Defendant James A. Fields, Jr.
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                                  CERTIFICATE OF SERVICE


        I hereby certify that on __22__ND day of February, 2021, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system which will send notification of such filing to
the following:


                                      Robert T. Cahill, Esquire
                                      Cooley, LLP
                                      11951 Freedom Drive, 14th Floor
                                      Reston, Virginia 20190-5656
                                      Counsel for Plaintiff

                                      Roberta A. Kaplan, Esquire
                                      Julie E. Fink, Esquire
                                      Christopher B. Greene
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                                      New York, New York 10118

                                      Karen L. Dunn, Esquire
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                                      575 Lexington Avenue
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                                 Alexandria, VA 22314

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                                 106 W. South St., Suite 211
                                 Charlottesville, VA 22902
                                 Counsel for Defendants Michael Hill, Michael Tubbs, and
                                 Leagues of the South

                                 Elmer Woodard, Esquire
                                 5661 US Hwy 29
                                 Blairs, VA 24527

                                        and

                                 James E. Kolenich, Esquire
                                 9435 Waterstone Blvd. #140
                                 Cincinnati, OH 45249
                                 Counsel for Defendants Schoepp, Nationalist Front,
                                 National Socialist Movement, Matthew Parrott, Matthew
                                 Heimbach, Robert Ray, Traditionalist Worker Party, Elliot
                                 Kline, Jason Kessler, Vanguard America, Nathan Damigo,
                                 Identity Europa, Inc., and Christopher Cantwell


        I further certify that on February 22, 2021, I also served the following non-ECF
participants, via electronic mail as follows:
Christopher Cantwell
Christopher.cantwell@gmail.com

Robert Azzmador Ray
azzmador@gmail.com

Elliott Kline
Eli.f.mosley@gmail.com

Vanguard America c/o Dillon Hopper
Dillon_hopper@protonmail.com
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Matthew Heimbach
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                                         ________/S/_________________________
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